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    6                         UNITED STATES DISTRICT COURT
    7          CENTRAL DISTRICT OF CALIFORNIA, SOUTHERN DIVISION
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    9   M. WESTLAND, LLC, a Delaware                  Case No.: 8:19-cv-01661-JVS-KES
        limited liability company; DOROTHY
   10   SUBLETT-MILLER and WALTER J.                  Assigned For All Purposes To:
        MILLER, Successor Trustees of the             Judge: Hon. James V. Selna
   11   Miller Family Trust, originally dated         Courtroom: 10C
        October 12, 1979, Amended and Restated
   12   February 05, 2004, for the Estate of Willis   JUDGMENT OF DISMISSAL
        L. Miller, deceased, as to an undivided ½
   13   interest; DOROTHY SUBLETT-                    Complaint Filed: August 29, 2019
        MILLER and WALTER J. MILLER,                  Trial Date: November 2, 2020
   14   Successor Trustees of the Miller Family
        Trust, originally dated October 12, 1979,
   15   Amended and Restated February 05,
        2004, for the Estate of Dorothy M. Miller,
   16   deceased, as to an undivided ½ interest;
        and LAND PARTNERS, LLC, a
   17   California limited liability company
        formerly known as LAND PARTNERS
   18   CO., LTD,
   19                Plaintiffs,
   20         vs.
   21   CALIFORNIA DEPARTMENT OF
        TRANSPORTATION, a public entity;
   22   LAURIE BERMAN, in her official
        capacity as Director, California
   23   Department of Transportation; and
        ORANGE COUNTY
   24   TRANSPORTATION AUTHORITY, a
        public entity,
   25
                     Defendants.
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                                       JUDGMENT OF DISMISSAL
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                                  JUDGMENT OF DISMISSAL
              WHEREAS on October 24, 2019, the State of California, Department of
    2
        Transportation and Toks Omishakin (collectively, “Caltrans”) filed a Motion to
    3
        Dismiss to Plaintiffs M. Westland LLC, Dorothy Sublett-Miller, Walter J. Miller
    4
        and Land Partners LLC’s (“Plaintiffs”) Complaint pursuant to Fed R. Civ. P.
    5
        12(b)(1), on the ground of lack of subject matter jurisdiction; and,
    6
              WHEREAS on October 25, 2019, the Orange County Transportation
    7
        Authority (“OCTA”) filed a Motion to Dismiss Plaintiffs’ Complaint pursuant to
    8
        Fed R. Civ. P. 12(b)(1) and 12(b)(6); and,
    9
              WHEREAS on November 19, 2019, Plaintiffs filed a Motion for Preliminary
   10
        Injunction.
   11
              WHEREAS on February 10, 2020 the Court held a hearing on the
   12
        aforementioned motions. Plaintiffs were represented by Benjamin Pugh, Esq. and
   13
        Adam Kent, Esq. Caltrans was represented by Glenn B. Mueller, Esq. and Vanessa
   14
        C. Morrison, Esq. The OCTA was represented by Gary C. Weisberg, Esq. and Ricia
   15
        R. Hager, Esq.
   16
              WHEREAS on February 12, 2020, after consideration of the pleadings filed
   17
        by all parties and oral argument presented at the hearing, the Court issued an order
   18
        granting the Motions to Dismiss filed by Caltrans and the OCTA. Dkt. No. 72. The
   19
        Court further denied Plaintiffs’ Motion for a Preliminary Injunction as MOOT. The
   20
        Court further ordered Caltrans and OCTA to share with Plaintiffs, within seven
   21
        days, their decision as to whether they will be supplementing the Environmental
   22
        Impact Statement, once they approve or reject NDC-044 and complete the NEPA
   23
        Re-Validation form.
   24
              WHEREAS on April 14, 2020, Caltrans and the OCTA filed a Joint Notice
   25
        of Decision re: NEPA Validation and included a true and correct copy of Re-
   26
        validation #24. Dkt. Nos. 80-81.
   27
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                                       JUDGMENT OF DISMISSAL
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    1         WHEREAS Plaintiffs have made no effort to file an amended Complaint and
    2   several pre-trial deadlines have already passed, including the designation of expert
    3   witnesses and the discovery cutoff
    4         IT IS HEREBY ORDERED, ADJUDGED AND DECREED THAT:
    5         Plaintiffs’ Action is dismissed pursuant to Fed. R. Civ. P. 41. Pursuant to
    6   Fed. R. Civ. P. 58(b)(1)(C), judgment on Plaintiffs’ Complaint is hereby entered in
    7   favor of Defendants Caltrans and the OCTA on all causes of action. Plaintiffs shall
    8   take nothing by way of the Complaint.
    9

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        Dated: September 18, 2020                           ____________________
   12                                                       Hon. James V. Selna
   13                                                       United States District Judge
                                                            Central District of California
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                                       JUDGMENT OF DISMISSAL
